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                       United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 24-1120                                                    September Term, 2024
                                                                             EPA-89FR39798
                                                       Filed On: September 24, 2024 [2076492]
State of West Virginia, et al.,

                   Petitioners

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, United
States Environmental Protection Agency,

                   Respondents

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Louisiana Public Service Commission, et
al.,
                   Intervenors
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Consolidated with 24-1121, 24-1122,
24-1124, 24-1126, 24-1128, 24-1142,
24-1143, 24-1144, 24-1146, 24-1152,
24-1153, 24-1155, 24-1222, 24-1226,
24-1227, 24-1233

                                              ORDER

         Upon consideration of the motion by The Chamber of Commerce of the United
States of America for leave to file a brief as amicus curiae in support of petitioners, and
the lodged brief; and the motion of Midcontinent Independent System Operator, Inc., et
al. for leave to file a brief as amici curiae in support of petitioners, and the lodged brief, it
is

       ORDERED that the motions be granted. The Clerk is directed to file the lodged
briefs amicus curiae.

                                                             FOR THE COURT:
                                                             Mark J. Langer, Clerk

                                                      BY:    /s/
                                                             Michael C. McGrail
                                                             Deputy Clerk
